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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION



BEBA LLC and
DEFI EDUCATION FUND,

                            Plaintiffs,

                     v.
                                                Case No. 6:24-cv-00153-ADA-DTG
SECURITIES AND EXCHANGE COMMISSION; and
GARY GENSLER, Commissioner of the
Securities and Exchange Commission, in his
official capacity,

                            Defendants.




        ORDER GRANTING UNOPPOSED MOTION FOR LEAVE TO FILE
 ANDREESSEN HOROWITZ, MULTICOIN CAPITAL, PARADIGM, UNION SQUARE
            VENTURES AND VARIANT’S AMICUS CURIAE BRIEF
   IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO
                               DISMISS


      Having considered Andreessen Horowitz, Multicoin Capital, Paradigm, Union Square

Ventures and Variant’s Unopposed Motion for Leave to File Amicus Curiae Brief in Support of

Plaintiffs’ Opposition to Defendants’ Motion to Dismiss, the Court hereby ORDERS that such

motion be, and hereby is, GRANTED.



Dated: __________________                      _____________________________________
                                               UNITED STATES DISTRICT COURT
